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“AO 2458 (CASD Rev. 1/19) Judgment in in a Criminal Case . Fug . | }

UNITED STATES DISTRICT COURT | SEP 244 2021
SOUTHERN DISTRICT OF CALIFORNIA | ceah TSE ETB She

UNITED STATES OF AMERICA ~ JUDGMENT IN A CRIMB-AE-€AS:
Vv. (For Offenses Committed On or After November 1, 1987)

MIGUEL GUTIERREZ-SURIANO (1)

 

 

 

 

 

 

 
 

Case Number: 3:21-CR-2235-CAB

William R. Burgener
Defendant’s Attorney

 

USM Number 36472013

O-
THE DEFENDANT:
pleaded guilty to count(s) One (1) of the One-Count Information

 

[1 was found guilty on count(s)

 

after a plea of not guilty. ,
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section / Nature of Offense : , Count
8:1326(A}, (B) - Attempted Reentry Of Removed Alien (Felony) 1
The defendant is sentenced as provided in pages 2 through 2 of this judgment.

The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

 

L] The defendant has been found not guilty on count(s)

 

L] Count(s) is dismissed on the motion of the United States.

[] Assessment: $100.00 WAIVED.

[] JNVTA Assessment*: $

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

No fine . LO Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

September 24021

of Sentence

  

 

 

HON. CATHY ANN BENCIVENGO
UNITED STATES DISTRICT JUDGE
Case 3:21-cr-02235-CAB Document 27 Filed 09/24/21 _PagelD. 68 Page 2 of 2
We) 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: MIGUEL GUTIERREZ-SURIANO (1) ‘Judgment - Page 2 of 2
CASE NUMBER: 3:21-CR-02235-CAB

IMPRISONMENT :
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned { for a total term of:
SIX (6) MONTHS.

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

Ol

The defendant is remanded to the custody of the United States Marshal.

The defendant must surrender to the United States Marshal for this district: -
O at |. A.M. on

 

 

as notified by the United States Marshal.

The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:

C1 onor before

C1 as notified by the United States Marshal.

[  asnotified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL

 

. By DEPUTY UNITED STATES MARSHAL
i .

3:21-CR-02235-CAB
